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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

WILLIAM F. DOSHIER and DOTSTRATEGY, CO.                                               PLAINTIFFS

v.                                Case No. 4:18-cv-00628-KGB

FACEBOOK, INC.                                                                       DEFENDANT

                                              ORDER

       Before the Court is an unopposed and consent motion to transfer filed by defendant

Facebook, Inc. (“Facebook”) (Dkt. No. 43). Facebook requests that the Court transfer this case to

the Northern District of California (Id.). Facebook states that plaintiffs William F. Doshier and

dotStrategy, Co. (“dotStrategy”) have represented that they consent to the transfer and do not

oppose this motion (Id., ¶ 1). Facebook states that this case should be transferred to the Northern

District of California pursuant to 28 U.S.C. § 1404(a) because plaintiffs have consented to the

transfer and the parties’ forum-selection agreement designates the United States District Court for

the Northern District of California as the exclusive federal forum for resolution of disputes relating

to or arising out of their contractual relationship (Id., ¶ 2). For good cause shown, the Court grants

Facebook’s motion (Dkt. No. 43). The Court directs the Clerk to transfer this case immediately to

the Northern District of California.

       So ordered this the 7th day of January, 2020.




                                                   Kristine G. Baker
                                                   United States District Judge
